      Case 2:03-cr-00097-FCD Document 139 Filed 05/12/05 Page 1 of 2


 1   DAVID W. DRATMAN
     Attorney at Law
 2   California State Bar No. 78764
     1007 7th Street, Suite 305
 3   Sacramento, CA 95814
     Telephone: (916) 443-2000
 4   Facsimile: (916) 443-0989
 5   Attorney for Defendant
     MICHAEL KIRK CAREY
 6
 7
 8                                 UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10
11
      UNITED STATES OF AMERICA,                                 CR. S-03-0097 FCD
12
                               Plaintiff,                       STIPULATION AND ORDER
13                                                              CONTINUING STATUS
                      vs.                                       CONFERENCE RE:
14                                                              DEFENDANT MICHAEL CAREY
      MICHAEL KIRK CAREY, et al.,                               ONLY
15
                               Defendants.
16
17          IT IS HEREBY STIPULATED between the United States of America, through its attorney

18   of record, Anne Pings, Assistant U.S. Attorney, and MICHAEL KIRK CAREY, through his

19   counsel, David W. Dratman, that the status conference scheduled for May 16, 2005 be continued

20   to June 13, 2005 at 9:30 a.m. for defendant CAREY only. (The other defendants are proceeding

21   on separate schedules.)

22          This matter continues to be complex within the meaning of the Speedy Trial Act due to the

23   volume of discovery, complexity of factual and legal issues and the need for defense counsel to

24   have additional time to prepare. The parties stipulate that the ends of justice are met by excluding

25   time until June 13, 2005; and, that the need of this defendant for additional time to prepare exceeds

26   the public interest in a trial within 70 days.

27          Accordingly, the time between for May 16, 2005 and June 13, 2005 should be excluded

28   from the calculation of time pursuant to the Speedy Trial Act, due to complexity and the needs of
     STIPULATION AND [PROPOSED] ORDER CONTINUING STATUS CONFERENCE RE: DEFENDANT MICHAEL CAREY ONLY
     United States v. Michael Carey, et al.
     [CR. S-03-0097 FCD]
      Case 2:03-cr-00097-FCD Document 139 Filed 05/12/05 Page 2 of 2


 1   counsel to prepare, pursuant to 18 U.S.C. §§ 3161(h)(8)(B)(ii) and (iv)[Local Codes T2 and T4].
 2   Dated: May 11, 2005                                /s/ David W. Dratman
                                                        DAVID W. DRATMAN
 3                                                      Attorney for Defendant
                                                        MICHAEL KIRK CAREY
 4
 5
 6   Dated: May 11, 2005                        McGREGOR W. SCOTT
                                                    UNITED STATES ATTORNEY
 7
 8
 9                                                      By: /s/ Anne Pings*
                                                          ANNE PINGS
10                                                        Assistant U.S. Attorney
                                                          *Signed with permission
11
12                                              ORDER
13          IT IS SO ORDERED.
14   Dated: May 12, 1005
15
16                                                      /s/ Frank C. Damrell Jr.
                                                        FRANK C. DAMRELL JR.
17                                                      United States District Court Judge
18
19
20
21
22
23
24
25
26
27
28
     STIPULATION AND [PROPOSED] ORDER CONTINUING STATUS CONFERENCE RE: DEFENDANT MICHAEL CAREY ONLY
     United States v. Michael Carey, et al.
     [CR. S-03-0097 FCD]                           -2-
